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                    UNITED STATES DISTRICT COURT
                                   DISTRICT OF MINNESOTA

                            COMPETENCY HEARING

United States of America,                                   COURT MINUTES
                                                           BEFORE: Kate Menendez
                      Plaintiff,                            U.S. Magistrate Judge
  v.
                                                   Case No:             0:20-cr-76-PAM-KMM
Muhammad Masood,                                   Date:                April 9, 2021
                                                   Courthouse:          St. Paul
                      Defendant.                   Courtroom:           Devitt
                                                   Court Reporter:      Carla Bebault
                                                   Time Commenced:      10:00 a.m.
                                                   Time Concluded:      10:20 a.m.
                                                   Time in Court:       20 Minutes


APPEARANCES:
 For Government: Andrew R. Winter

 For Defendant:     Jordan S. Kushner

HEARING:

       To determine Defendant’s competency pursuant to 18 U.S.C. § 4241. [See ECF Nos. 33,
       36, 41].

ADDITIONAL INFORMATION:

        Having received the competency-evaluation report this Court ordered [ECF Nos. 36, 41],
the Court held a hearing to determine Mr. Masood’s competency pursuant to 18 U.S.C. § 4241.
Based on the report, to which neither party objected, the Court found that Mr. Masood was not
competent to proceed in this matter at this time and committed him to the custody of the
Attorney General. Further, Mr. Masood having provided notice of his intent to assert a defense of
insanity [ECF No. 44], the government orally moved for an examination pursuant to Federal
Rule of Criminal Procedure 12.2 and 18 U.S.C. § 4242. The Court granted the government’s
motion. A written order capturing the Court’s findings and will follow shortly.

                                                     s/Joe Nelson
                                                     Signature of Law Clerk



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